
498 So.2d 1064 (1986)
Ozell CHANCE, Appellant,
v.
STATE of Florida, Appellee.
No. 86-836.
District Court of Appeal of Florida, Fifth District.
December 18, 1986.
James B. Gibson, Public Defender, and Brynn Newton, Asst. Public Defender, Daytona Beach, for appellant.
Jim Smith, Atty. Gen., Tallahassee, and Belle B. Turner, Asst. Atty. Gen., Daytona Beach, for appellee.
PER CURIAM.
Appellant contends that the trial court erred by imposing costs under section 27.3455, Florida Statutes (1985) because he was indigent.
We reverse and remand for the court to make a determination of whether appellant had the ability to pay costs and, if it is determined that appellant was indigent, to give him a term of community service in lieu of payment of costs. Gaffney v. State, 497 So.2d 1292 (Fla. 5th DCA 1986), Slaughter v. State, 493 So.2d 1109 (Fla. 1st DCA 1986); Lawton v. State, 492 So.2d 404 (Fla. 1st DCA 1986).
UPCHURCH, C.J., ORFINGER and COWART, JJ., concur.
